     Case 2:07-cr-01402-SJO Document 879 Filed 01/08/18 Page 1 of 21 Page ID #:8069



 1   NICOLA T. HANNA
     United States Attorney
 2   LAWRENCE S. MIDDLETON
     Assistant United States Attorney
 3   Chief, Criminal Division
     MONICA E. TAIT (Cal. Bar No. 157311)
 4   SCOTT PAETTY(Cal. Bar No. 274719)
     Assistant United States Attorneys
 5   Major Frauds Section
          1100 United States Courthouse
 6        312 North Spring Street
          Los Angeles, California 90012
 7        Telephone: (213) 894-2931/6527
          Facsimile: (213) 894-6269
 8        E-mail:    Monica.Tait@usdoj.gov/
                     scott.paetty@usdoj.gov
 9
     Attorneys for Plaintiff
10   UNITED STATES OF AMERICA

11                            UNITED STATES DISTRICT COURT

12                      FOR THE CENTRAL DISTRICT OF CALIFORNIA

13   UNITED STATES OF AMERICA,                 No. CR 07-1402-SJO

14               Plaintiff,                    GOVERNMENT’S POSITION WITH RESPECT
                                               TO SENTENCING RE ALBERINO MAGI;
15                    v.                       MEMORANDUM IN SUPPORT; EXHIBITS

16   ALBERINO MAGI,                            Sentencing Date: 1/16/2018
                                               Time: 9:00 a.m.
17               Defendant.

18

19          Plaintiff United States of America, by and through its counsel
20   of record, the United States Attorney for the Central District of
21   California and Assistant United States Attorney Monica E. Tait,
22   hereby files its position with respect to sentencing as to defendant
23   ALBERINO MAGI.
24   ////
25

26

27

28
     Case 2:07-cr-01402-SJO Document 879 Filed 01/08/18 Page 2 of 21 Page ID #:8070



 1         This Position is based upon the attached memorandum of points

 2   and authorities and exhibits, the files and records of this case, and

 3   such further evidence and argument as the Court may permit.

 4

 5    Dated: January 8, 2018               Respectfully submitted,

 6                                         NICOLA T. HANNA
                                           United States Attorney
 7
                                           LAWRENCE S. MIDDLETON
 8                                         Assistant United States Attorney
                                           Chief, Criminal Division
 9

10                                               /s/ Monica E. Tait
                                           MONICA E. TAIT
11                                         SCOTT PAETTY
                                           Assistant United States Attorneys
12
                                           Attorneys for Plaintiff
13                                         UNITED STATES OF AMERICA

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

                                            2
     Case 2:07-cr-01402-SJO Document 879 Filed 01/08/18 Page 3 of 21 Page ID #:8071



 1                                  TABLE OF CONTENTS
 2                                                                                PAGE
 3   TABLE OF AUTHORITIES ..............................................ii

 4   I.    INTRODUCTION...................................................1 

 5   II.  FACTS..........................................................1 

 6         A.    The Plea Agreement........................................1 

 7         B.    MAGI joined the lottery scheme conspiracy as a
                 telemarketer no later than November 30, 2006, after
 8               partnering with Bellini on other fraud schemes............3 

 9         C.    MAGI was Recorded Pitching the Scheme to Victims and
                 Potential Victims.........................................9 
10
     III.  SENTENCING GUIDELINES ANALYSIS.................................9 
11
           A.    The Parties Agree on the Base Offense Level and on One
12               Specific Offense Characteristic...........................9 

13         B.    Loss is Over $250,000 but Not More Than $550,000.........10 

14         C.    The Offense Was Committed by Mass Marketing and There
                 Were Ten or More Victims.................................10 
15
           D.    MAGI Knew or Should Have Known That the Offense
16               Involved Vulnerable Victims..............................11 

17         E.    The total offense level is 21............................12 

18   IV.  SENTENCING FACTORS............................................13 

19         A.    The Nature and Circumstances of the Offense and
                 Characteristics of the Defendant.........................13 
20
           B.    The Need for the Sentence Imposed to Reflect the
21               Seriousness of the Offense, to Promote Respect for the
                 Law, and to provide just punishment for the offense......14 
22
           C.    The Need to Avoid Unwarranted Sentence Disparities
23               Among Defendants With Similar Records Who Have Been
                 Found Guilty of Similar Conduct..........................14 
24
     V.    CONCLUSION....................................................17 
25

26

27

28

                                              i
     Case 2:07-cr-01402-SJO Document 879 Filed 01/08/18 Page 4 of 21 Page ID #:8072



 1                                TABLE OF AUTHORITIES
 2                                                                                PAGE
 3   CASES 
 4
     United States v. Ciccone,
 5     219 F.3d 1078 (9th Cir. 2000) .................................... 10

 6   United States v. Lloyd,
       807 F.3d 1128 (9th Cir. 2015) .................................... 10
 7
     United States v. Randall,
 8     162 F.3d 557 (9th Cir. 1998) ..................................... 10

 9   STATUTES 
10   18 U.S.C. § 371..................................................... 1
11   18 U.S.C. § 3553(a)................................................ 12
12   18 U.S.C. § 3553(a)(6)............................................. 16
13
     SENTENCING GUIDELINES 
14
     U.S.S.G. § 2B1.1(a)(2)............................................. 11
15
     U.S.S.G. § 2B1.1(b)(1)(G).......................................... 11
16
     U.S.S.G. § 2B1.1(b)(2)............................................. 10
17
     U.S.S.G. § 2B1.1(b)(2)(A)(i), (ii)............................. 10, 12
18
     U.S.S.G. § 2B1.1(b)(10)(b)...................................... 9, 12
19
     U.S.S.G. § 3A1.1(b)(1)......................................... 10, 11
20
     U.S.S.G. § 3E1.1................................................... 12
21

22

23

24

25

26

27

28

                                           ii
     Case 2:07-cr-01402-SJO Document 879 Filed 01/08/18 Page 5 of 21 Page ID #:8073



 1                        MEMORANDUM OF POINTS AND AUTHORITIES
 2   I.     INTRODUCTION
 3          Defendant ALBERINO MAGI (“defendant” or “MAGI”) will shortly

 4   appear for sentencing on his plea to count one, conspiracy to commit

 5   mail and wire fraud, in violation of 18 U.S.C. § 371.            The government

 6   contends that the offense level for this defendant is 21.             Based on

 7   that offense level, the government moves under Booker            for a variance

 8   sufficient to adjust defendant’s offense level to level 15, to avoid

 9   sentencing disparity.      The government requests that the court impose

10   a sentence of 18 months imprisonment, 3 years supervised release, a

11   special assessment of $100, and an order to pay restitution in the

12   amount of $286,230.00.

13   II.    FACTS
14          A.      The Plea Agreement
15          Defendant pled guilty to count one, conspiracy to commit mail

16   and wire fraud in violation of Title 18, United States Code, Section

17   371.   Defendant’s conviction is based on his participation in a

18   fraudulent telemarketing operation based in Montreal, Quebec, Canada,

19   that targeted elderly victims in both Canada and the United States.

20   In the plea agreement, defendant agreed to the following statement of

21   facts:

22          Beginning as early as 2004, and continuing through on or
            about December 19, 2006, several individuals engaged in a
23          conspiracy to commit mail and wire fraud. The conspiracy
            operated as follows: working in a location in Montreal,
24          Quebec, Canada, defendant agreed with others to defraud
            victims in the United States and Canada, including victims
25          located in the Central District of California. Defendant
            MAGI knowingly joined this conspiracy as a telemarketer
26          prior to December 19, 2006, knowing that the conspiracy’s
            objects were to defraud victims as stated above and
27          intending to help accomplish them. Defendant’s co-
            conspirators obtained “leads,” that is, names and contact
28          information of potential victims in the United States and

                                              1
     Case 2:07-cr-01402-SJO Document 879 Filed 01/08/18 Page 6 of 21 Page ID #:8074



 1         Canada. Working from the leads, defendant and other
           telemarketers contacted victims by telephone and mail and
 2         falsely informed them that they had won a large sum of
           money in a sweepstakes or lottery. As defendant then knew,
 3         this representation was false and fraudulent, as there was
           no sweepstakes or lottery, and the victims called had not
 4         won any sum of money from defendant or anyone with whom he
           was associated.
 5
           Defendant and other telemarketers falsely told the victims
 6         that, in order to collect their “winnings,” the victims had
           to pay a sum of money, which defendant and the other
 7         telemarketers falsely represented was for taxes,
           administrative fees, insurance, legal fees, and other
 8         expenses that purportedly had to be paid before the
           “winnings” could be sent to the victims. As defendant then
 9         knew, these representations were false and fraudulent, as
           the victims had no reason to send money to defendant or
10         anyone with whom he was associated.

11         Defendant and other telemarketers instructed the victims to
           send the money for the purported expenses and fees required
12         for release of their winnings in a variety of ways: (i) By
           wire transfer via Western Union or MoneyGram, either in a
13         name of the victim’s choosing, or in a name supplied by the
           telemarketers; (ii) by mail or by commercial carrier, such
14         as Federal Express, to an address supplied by the
           telemarketers; or (iii) by wire transfer from the victim’s
15         bank account into a bank account controlled by a co-
           conspirator.
16
           In furtherance of the conspiracy, and to help accomplish
17         its objects, defendant MAGI, together with his co-
           conspirators, committed and willfully caused others to
18         commit the following overt acts:

19         On December 14, 2006, defendant MAGI contacted codefendant
           Van Wade Bedford, provided him with the name and contact
20         information for victim C.R. (telephone number XXX-XXX-
           3471), and informed defendant Bedford that victim C.R. had
21         already sent $2,500 twice to cover the taxes on the prize;
           that the names used to contact victim C.R. were "Glen Ross"
22         and "Robert Knowles"; and that defendant Bedford was to act
           as the supervisor.
23
           On December 18, 2006, codefendant John Bellini contacted
24         defendant MAGI and discussed whether MAGI would work with
           codefendants April Frances Muir and Arlene Grundy.
25
     (Plea agreement at pp. 7-9.)
26
           As part of the investigation of this matter, the Royal Canadian
27
     Mounted Police (“RCMP”) conducted a 6-week wiretap of numerous phones
28

                                            2
     Case 2:07-cr-01402-SJO Document 879 Filed 01/08/18 Page 7 of 21 Page ID #:8075



 1   connected to multiple participants in the scheme.           Based on the
 2   wiretap and RCMP’s seizure of search warrant evidence (which RCMP

 3   refers to as “Exhibits”) from various defendants, its analysis of

 4   Western Union and MoneyGram records, and interviews with certain

 5   victims, RCMP linked more than 150 victims to the entire fraud

 6   scheme.      (Exh. 1 (Victim Summary as of November 21, 2007 by Sgt. Yves

 7   Leblanc)).     The government has filed separately, under seal, the

 8   underlying data prepared by RCMP in accordance with Sgt. Leblanc’s

 9   discussion in Exhibit 1, from which the loss amounts described in

10   section III.B.2 below were derived, itemizing loss by each victim.

11   See GOVERNMENT’S FILING OF LOSS ANALYSIS LISTING VICTIMS, DATES OF

12   LOSSES, AND AMOUNTS LOST IN CONNECTION WITH SENTENCING, docket no.

13   589.1

14           B.    MAGI Joined the Lottery Scheme Conspiracy As A Telemarketer
                   No Later Than November 30, 2006, After Partnering With
15                 Bellini on Other Fraud Schemes
16           Before about November 30, 2006, MAGI was codefendant John

17   Bellini’s partner in fraudulent boiler room schemes selling grants

18   and loans, paper rolls/office supplies, and medical supply kits, but

19   was not part of the lottery scheme.         (See Exh. 2 (charging document

20   from Canadian Competition Bureau describing these non-lottery

21   schemes).     These schemes were charged by Canadian authorities, and

22   defendant has previously advised the Court that he was convicted on

23   at least some of these Canadian charges.          See Docket no. 716 at ECF

24   p. 4 n.2 (“Mr. Magi has already been convicted and sentenced in

25

26
             1
            To the extent there are differences between Exh. 1 and Docket
27   no. 589 in loss amounts and victim counts, Docket No. 589 controls.
     Docket no. 589 was filed under seal in connection with defendant
28   Adrien Stephenson’s sentencing, but was produced to defendant’s
     counsel in discovery.
                                      3
     Case 2:07-cr-01402-SJO Document 879 Filed 01/08/18 Page 8 of 21 Page ID #:8076



 1   Canada for . . . the ‘Competition Bureau case[’.]”)            The non-lottery

 2   boiler rooms were also located in Montreal(on Montclair and on Jean

 3   Talon streets).     (Exh. 3 at pp. 1, 4 and Exh. 4 at 1-2 (RCMP evidence

 4   summaries re: MAGI).)        In addition to Bellini, defendants George

 5   Chrysanthopoulos and Lord Kofi Agyapong Mensah were also involved in

 6   one or more of the non-lottery boiler room schemes.            (Exh. 2.)   On

 7   the day the RCMP executed its search warrants, officers seized

 8   documents from MAGI’s car which confirm he had a managerial role over

 9   the non-lottery boiler room scams (Exh. 3 at 5 (notebook calculating

10   expenses like payroll; copy of lease signed by MAGI for a boiler room

11   on Griffith Street).)

12         Late in 2006, MAGI joined the instant telemarketing conspiracy.

13   On November 30, 2006, in a call intercepted by RCMP, MAGI and Bellini

14   discussed the fact that MAGI had already begun pitching the lottery

15   scheme as a telemarketer under the pitch name “Robert Knowles” in

16   order to make some easy money before the end of the year:

17
            A MAGI        I'm pretty good. I'm getting the knack of this
18                        thing here now.
19
           J BELLINI      That's what you should do for 3 or 4 hours a
20
                          day, because you'll make ... you'll get yourself
21                        out of debt and you'll make ... I'm getting
22                        Canadian leads in the next day or two; when I
23                        get them you gotta work because you'll make

24                        yourself between here and Christmas, you'll make
                          yourself $30-$40 thousand bucks.
25

26          A MAGI        That'd be good.
27
           J BELLINI      Yeah.
28

                                            4
     Case 2:07-cr-01402-SJO Document 879 Filed 01/08/18 Page 9 of 21 Page ID #:8077



 1
            A MAGI        Yeah. Just call me Robert Knowles.
 2

 3
     (Exh. 5 at p .2 (emphasis added).)         Bellini’s reference to “Canadian
 4
     leads” in this call refers to contact information for potential
 5
     victims residing in Canada.
 6
           MAGI told Bellini to call him “Robert Knowles,” a name which he
 7
     has admitted was one of the aliases he used in this matter (Plea
 8
     agreement at 1, 9), so this reference confirms the men are discussing
 9
     the lottery pitch.      As discussed below, MAGI was intercepted pitching
10
     the lottery scheme to potential victims using the same “Robert
11
     Knowles” alias.     His reference to that name on November 30, 2006
12
     confirms that the above conversation concerned MAGI “getting the
13
     knack of” his new role as a lottery scam telemarketer, and confirms
14
     he was making lottery pitch calls by no later than that date
15
     (November 30, 2006).
16
           On the following day, Bellini discussed MAGI’s new role as a
17
     telemarketer with codefendant Vijayakumar Ramakrishnan.
18
     (Ramakrishnan pleaded guilty to acting as a crooked MoneyGram/Western
19
     Union operator; he fraudulently pulled victims’ funds out of the
20
     Western Union/MoneyGram (“WU/MG”) system.)          In the December 1, 2006
21
     conversation below, Bellini told Ramakrishnan that their mutual
22
     friend “Rino,” (short for “Alberino,” i.e. MAGI), was now a
23
     telemarketer in the lottery scam, and warned Ramakrishnan not to let
24
     MAGI ask Ramakrishnan to pull WU/MG transactions for MAGI, because
25
     MAGI was supposed to go through Bellini:
26
      J BELLINI               Listen…um… I have…uh…your boy Rino there
27
                              trying to make some money. But if he tries
28

                                            5
     Case 2:07-cr-01402-SJO Document 879 Filed 01/08/18 Page 10 of 21 Page ID #:8078



 1                             to take a short route and…uh…contact you
 2                             directly…uh…with …you know…the deals there

 3                             that we do. He tries anything…uh...you
                               gotta let me know. You gotta be straight
 4
                               up with me. I’m…um…I’m straight with you.
 5
       V RAMAKRISHNAN          Hold on…he’s trying to…[U/I]
 6
       J BELLINI               Listen…He’s trying to…he’s working with a
 7                             few of my people there and…[U/I]… pulling
 8                             some deal…maybe you know….he even gets you

 9                             some money in the near future. But if
                               he…he tries to…he’s supposed to go through
10
                               me…If he tries to go to you directly…you
11
                               gotta let me know. OK? That’s all I’m
12                             asking.
13

14    (Exh. 6 at p. 2.)
15          The same day (December 1, 2006), MAGI spoke to codefendant Kofi
16    Mensah and confirmed that he (MAGI) would go over to Mensah’s house
17    to make some money to pay off MAGI’s bills:
18
              KOFI           We're at home. We're at my house.
19

20           A MAGI          Okay. I'm going to come. The fucking ...
                             just the weather's bad. I was all the way
21
                             away at the end of Ville Saint-Laurent and
22
                             it's really bad. Don't tell me George drove
23                           there in his car.
24
              KOFI           Yeah, he did. He-
25

26           A MAGI          Holy fuck.

27
              KOFI           That's why he's saying ... well, we got 10
28

                                            6
     Case 2:07-cr-01402-SJO Document 879 Filed 01/08/18 Page 11 of 21 Page ID #:8079



 1                           days to get one from you, right?
 2
             A MAGI          Yeah, we're going to get one. Well, let's
 3
                             make some money. I need to come to work and
 4                           make some money. I got to pay down the
 5                           cards, fuck.

 6
                KOFI         All right. Come by.
 7

 8
      (Exh. 7 at p. 2, emphasis added.)
 9
            The same day (December 1, 2006), MAGI told his business
10
      associate Gilles Tremblay (a codefendant in the separate Canadian
11
      boiler-room case, see Exh. 2) that he was now selling the lottery
12
      scam with Kofi (Mensah) and George (referring to codefendant George
13
      Chryssanthopoulos) to make some money because “You gotta pay the
14
      bills”:
15

16     G TREMBLAY:            Uh… I wish uh… you know, you wish you could
                              have a thousand in your pocket right now I’m
17
                              sure.
18

19     A MAGI:                Uh… yes, yes, of course. Fuck.

20
       G TREMBLAY:            Yeah. So what are you gonna do, you're gonna
21                            go down uh… over there?
22
       A MAGI:                I'm gonna go meet uh… Gorge and Kofi, yeah.
23

24     G TREMBLAY:            What are they selling now?

25
       A MAGI:                What are we selling? Dreams.
26
       G TREMBLAY:            Yeah. Which one, is it the travel thing?
27

28

                                            7
     Case 2:07-cr-01402-SJO Document 879 Filed 01/08/18 Page 12 of 21 Page ID #:8080



 1
          A MAGI:              (Laughs).
 2
          G TREMBLAY:          Huh?
 3

 4        A MAGI:              No, the other one.
 5
          G TREMBLAY:          The lottery?
 6

 7        A MAGI:              Yes.

 8        G TREMBLAY:          Oh shit.
 9
          A MAGI:              Not down there though, he’s doing it at uh…
10
                               at uh… Kofi's house.
11

12        G TREMBLAY:          Ok, they're not uh… they’re not mixing it up?

13
          A MAGI:              Ben non, fuck!
14
          G TREMBLAY:          No?    Ok.
15

16        A MAGI:              Ben non.
17
          G TREMBLAY:          Holy mackerel. I hope they uh… Ok. Well it’s
18
                               up uh… John…
19
          A MAGI:              You gotta pay the bills.
20

21     

22    (Exh. 8 at p. 11.)

23            The RCMP’s draft wire summaries for the lottery scheme calls

24    involving MAGI show that MAGI continued to work with George

25    Chryssanthopoulos and Kofi Mensah during the first part of December

26    2006.     (See, e.g., Exh. 9 at pp. 3-4 (session numbers 7392, 7621,

27    7677).)       Around December 14, 2006, MAGI began to work with

28    codefendant Van Wade Bedford.         On that day, for example, MAGI told

                                              8
     Case 2:07-cr-01402-SJO Document 879 Filed 01/08/18 Page 13 of 21 Page ID #:8081



 1    Bedford about the calls MAGI had already made to certain potential

 2    victims to set Bedford up for calling the same people to close their

 3    deals (i.e., convince the victims to send the funds).           (Id. at pp.

 4    12-14.)    Finally, on December 18, 2006 (just prior to the RCMP

 5    takedown that stopped the schemers), MAGI, Bellini, and codefendant

 6    April Muir arranged for MAGI to team with Muir.          (Id. at pp. 21, 22,

 7    29 (session numbers 10038, 10090, 6268).)

 8          Based on all of the above, MAGI participated in the scheme

 9    beginning on at least November 30, 2006 until the end of the scheme.

10          C.    MAGI was Recorded Pitching the Scheme to Victims and
                  Potential Victims
11
            Transcriptions of MAGI’s fraudulent pitch calls to victims
12
      Bernard B. (MAGI using the fake name “Robert Knowles”) and George S.
13
      (MAGI using the fake name “Robert Ross”) are attached hereto as
14
      Exhibits 10 and 11.      These transcriptions will give insight into the
15
      mechanics of the fraudulent sales pitch.
16
      III. SENTENCING GUIDELINES ANALYSIS2
17
            A.    The Parties Agree on the Base Offense Level and on One
18                Specific Offense Characteristic
19          In the plea agreement, the parties agreed that the base offense

20    level is six, and that a substantial part of the fraud scheme was

21    committed from outside the United States, which adds two offense

22    levels.    U.S.S.G. § 2B1.1(b)(10)(b); Plea agreement at p. 10.

23

24

25

26
           2 The PSR was issued the same the day this sentencing position

27    was due (defendant is expected to waive the late filing); the
      government will respond to the PSR in a separate filing prior to
28    sentencing.

                                            9
     Case 2:07-cr-01402-SJO Document 879 Filed 01/08/18 Page 14 of 21 Page ID #:8082



 1          B.    Loss is Over $250,000 but Not More Than $550,000
 2          As demonstrated above, MAGI joined the conspiracy by no later

 3    than November 30, 2006.      From November 30, 2006 to the end of the

 4    scheme, 58 victims lost a total of $286,230.00.          (PSR ¶ 25, and pp.

 5    18-19.3

 6          C.    The Offense Was Committed by Mass Marketing and There Were
                  Ten or More Victims
 7
            The Guidelines provide a two-level increase if the offense was
 8
      committed by mass marketing, or if there were ten or more victims.
 9
      U.S.S.G. § 2B1.1(b)(2)(A)(i),(ii).             As demonstrated in the
10
      preceding section and PSR ¶ 25, there were more than 10 victims
11
      during the time MAGI participated.
12
            In the alternative, the offense MAGI committed involved “mass
13
      marketing,” which is defined as “a plan, program, promotion, or
14
      campaign that is conducted through solicitation by telephone,
15
      mail, the Internet, or other means to induce a large number
16
      of persons to (i) purchase goods or services; [or] (ii)
17
      participate in a contest or sweepstakes. . . .”                  U.S.S.G.
18
      § 2B1.1(b)(2), comment. (n.4).
19
            For the above reasons, a two-level increase should apply.
20

21

22

23

24          3The victim list and dollar amounts set forth in the PSR are
      derived from the GOVERNMENT’S FILING OF LOSS ANALYSIS LISTING
25    VICTIMS, DATES OF LOSSES, AND AMOUNTS LOST IN CONNECTION WITH
      SENTENCING, docket no. 589 (see n.1 and accompanying text) (the
26    “Sealed Loss Analysis”), in combination with the supporting
      documentation as described in RCMP’s Exhibit 1. The list applicable
27    to MAGI is a subset of the Sealed Loss Analysis, and includes only
      those victims, and only those dollar amounts, paid on and after
28    November 30, 2006. One additional victim may be added prior to
      sentencing (see n. 6).
                                      10
     Case 2:07-cr-01402-SJO Document 879 Filed 01/08/18 Page 15 of 21 Page ID #:8083



 1          D.      MAGI Knew or Should Have Known That the Offense Involved
                    Vulnerable Victims
 2
            The Guidelines provide a two-level enhancement for “offenses
 3
      involving an unusually vulnerable victim in which the defendant knows
 4
      or should have known of the victim's unusual vulnerability.”
 5
      U.S.S.G. § 3A1.1(b)(1), comment. (n.2).         This enhancement applies
 6
      “where (1) a victim was either (a) unusually vulnerable due to age,
 7
      physical or mental condition, or (b) otherwise particularly
 8
      susceptible to the criminal conduct, and (2) the defendant knew or
 9
      should have known of such vulnerability or susceptibility.”            United
10
      States v. Randall, 162 F.3d 557, 560 (9th Cir. 1998) (quotation
11
      omitted).     Where a “defendant ‘reloads’ victims by soliciting more
12
      money from those who have already proven susceptible to an investment
13
      fraud . . . the vulnerable-victim enhancement is appropriate.”
14
      United States v. Lloyd, 807 F.3d 1128, 1172-73 (9th Cir. 2015),
15
      citing Randall, 162 F.3d at 560 and United States v. Ciccone, 219
16
      F.3d 1078, 1086 (9th Cir. 2000).
17
            In a conversation with codefendant Bedford on December 14, 2006,
18
      MAGI shows that he knows the victims are vulnerable to reloading,
19
      that is, once they fall for the scheme once by paying unnecessary
20
      funds, the telemarketers try to extract more money from them:
21
             MAGI        [B]asically uh… we usually hit them uh… you know,
22                       two checks of 175, that's what we suggest is the
                         best way. Right? And then, we hit them for, you
23                       know, 25, 29. First check is the insurance and all
                         of a sudden we got stopped, the second package
24                       wasn't insured. If we get them all once, so once,
                         twice and then the third time is the uh… taxes.
25

26    (Exh. 12 at 3 (emphasis added).)        In this call, MAGI explains to
27    Bedford that MAGI and his coschemers usually say that the first or
28    second payment the victim is required to make in order to receive his
                                            11
     Case 2:07-cr-01402-SJO Document 879 Filed 01/08/18 Page 16 of 21 Page ID #:8084



 1    prize is for insurance; if MAGI successfully convinces the victim to

 2    pay, MAGI or a coschemer resolicits the victim for money to pay

 3    purported taxes.     This is classic reloading.        Several of the victims

 4    who lost money during the time MAGI participated in the scheme were

 5    reloaded.    (See Sealed Loss Analysis (Docket no. 589) (see, e.g.,

 6    victims AWA, GEB, JE, KF, NH, EJ and SJ, JJ, FL, and CR for

 7    examples).)

 8          Moreover, as a telemarketer, MAGI would also know from the

 9    sounds of victims’ voices that they were generally elderly.            (See

10    Sealed Loss Analysis, listing certain victims’ ages in parentheticals

11    after their names.)

12          Accordingly, MAGI knew or should have known the victims were

13    vulnerable victims.      U.S.S.G. § 3A1.1(b)(1).

14          E.    The Total Offense Level is 21
15          Based on all of the above, the government’s Guidelines offense

16    level calculation is set forth in the chart below:

17       Base Offense Level                       6      [U.S.S.G. § 2B1.1(a)(2)]

18       Specific Offense
         Characteristics:
19
         Loss between $250,001 and
20       $550,000                                +12
                                                       [U.S.S.G. § 2B1.1(b)(1)(G)]
21       10 or more victims, and/or
         offense committed through
22       mass marketing                          +2                    [U.S.S.G. §
                                                           2B1.1(b)(2)(A)(i),(ii)]
23       Substantial part of fraud
         scheme committed from outside                                 [U.S.S.G. §
24       the United States                        +2              2B1.1(b)(10)(B)]

25       Adjustments:

26       Vulnerable victims                      +2      [U.S.S.G. § 3B1.1(b)(1)]

27       Offense Level:                          24
28       Acceptance of Responsibility            -3            [U.S.S.G. § 3E1.1]
                                            12
     Case 2:07-cr-01402-SJO Document 879 Filed 01/08/18 Page 17 of 21 Page ID #:8085



 1       Total Offense Level:                    21                   37-46 months
 2
      IV.   SENTENCING FACTORS
 3
            The government believes that an evaluation of the factors set
 4
      forth in 18 U.S.C. § 3553(a) demonstrates why a sentence of 18 months
 5
      is appropriate.     This reflects a variance of 6 levels (from level 21
 6
      to level 15, at the low end) below the advisory guidelines sentence
 7
      for defendant. The government below addresses the most notable of the
 8
      § 3553(a) factors as applied to this defendant.
 9
            A.     The Nature and Circumstances of the Offense and
10                 Characteristics of the Defendant
11          Defendant was on the front lines of the fraudulent organization:
12    he was a telemarketer who directly lied to victims to persuade them
13    to part with their money.       As the Court well knows, the scheme preyed
14    on the elderly and infirm, causing substantial financial and
15    emotional harm to these elders.        Based on all of the above, the
16    nature of the offense was undeniably serious, and is a substantial
17    factor supporting the recommended sentence.
18          Defendant is a well-educated man with an advanced degree.            (PSR
19    ¶ 73.)     Instead of pursuing legitimate employment in the engineering
20    or finance fields in which he was educated, he chose to commit the
21    most egregious kind of telemarketing fraud to pay off his bills in
22    time for Christmas.
23          Defendant will argue that he was the telemarketer involved for
24    the shortest amount of time in the lottery scheme, and the government
25    agrees that this is correct.       However, this fact is already accounted
26    for in his Guidelines calculation by the lower amount of loss for
27    which he is responsible, in comparison to persons like John Bellini,
28    Jeffrey Jacobson, and Vijayakumar Ramakrishnan, who were involved for
                                            13
     Case 2:07-cr-01402-SJO Document 879 Filed 01/08/18 Page 18 of 21 Page ID #:8086



 1    a year or more and whose advisory guidelines offense levels were

 2    therefore much higher than defendant’s.         Moreover, his short time in

 3    the instant scheme is tempered by his participation with Bellini in

 4    the non-lottery boiler room schemes immediately prior to this one.

 5    Accordingly, the 18-month recommended sentence is appropriate.

 6          B.    The Need for the Sentence Imposed to Reflect the
                  Seriousness of the Offense, to Promote Respect for the Law,
 7                and to provide just punishment for the offense.
 8          In light of the all the circumstances of this case, an 18-month

 9    sentence is appropriate for defendant, and will communicate to other

10    Canadian telemarketers that they will pay a serious price if they

11    engage in a cross-border scam.       A shorter sentence would be unjust

12    give the fact that defendant teamed with numerous co-defendants who

13    received longer sentences (Chryssanthopoulos, Mensah, Bedford, Muir),

14    and given the $286,000 the scheme provably generated during

15    defendant’s tenure.

16          C.    The Need to Avoid Unwarranted Sentence Disparities Among
                  Defendants With Similar Records Who Have Been Found Guilty
17                of Similar Conduct
18          The government’s 6-level Booker variance recommendation relates

19    to this factor, due to the history of this specific case.

20          Defendant is an average telemarketer, rather than one of the

21    experts.    Beginning in 2015, the Court has sentenced several similar

22    telemarketers in the scheme to below-guidelines sentences:

23                -Arlene Grundy, at offense level 27 received a 24-month

24          sentence.    Her offense level is greater because she agreed to

25          responsibility for greater loss and was sentenced before the

26          November 2015 change in the sentencing guidelines (which

27          affected the loss and number of victims offense

28          characteristics).

                                            14
     Case 2:07-cr-01402-SJO Document 879 Filed 01/08/18 Page 19 of 21 Page ID #:8087



 1                -April Muir, with whom defendant worked at the end of his

 2          involvement, at offense level 27 received an 18-month sentence.

 3          Her offense level was the same as Grundy’s for the same reasons.

 4          At the sentencing hearing, however, this Court appeared to have

 5          been persuaded by defense arguments (contested by the

 6          government) that Muir was involved in the scheme for only a

 7          month, likely accounting for the difference between Muir’s and

 8          Grundy’s sentences.

 9                -Lori Kofi Mensah, with whom defendant worked at the

10          beginning of his time as a lottery telemarketer, as well as in

11          connection with the non-lottery boiler rooms, at offense level

12          25 received a 24-month sentence.        His offense level was higher

13          for the same reasons as Grundy’s (though he was responsible for

14          less loss than Grundy owing to his shorter time in the scheme).

15                -Jeremiah Mosher, at offense level 21 (same as defendant,

16          and under the same version of the Guidelines) was sentenced in

17          late 2016 to 21 months imprisonment.        The Court granted the

18          government’s motion for a 5-level Booker variance to bring

19          Mosher’s sentence in line with the below-guidelines sentences

20          this Court imposed on Muir and Grundy, with whom he worked.

21          Mosher was involved in the scheme for about 14 days longer than

22          MAGI (Mosher started on November 16, 2006).

23                -Defendant George Chryssanthopoulos (with whom defendant

24          also worked, at the same time as with Mensah), at offense level

25          25 was sentenced to 36 months imprisonment.

26          More recently, Van Wade Bedford (with whom MAGI worked during

27    the last week of the scheme), at offense level 24, was also sentenced

28    to 36 months imprisonment.       The government urged the Court to impose

                                            15
     Case 2:07-cr-01402-SJO Document 879 Filed 01/08/18 Page 20 of 21 Page ID #:8088



 1    a 51-month sentence for Bedford, a highly culpable telemarketer who

 2    was involved in the scheme for more than 4 months (August-December

 3    2006), but this Court varied downward substantially due to Bedford’s

 4    frailty, health conditions, and his age.         None of those factors apply

 5    in defendant’s case.

 6          Accordingly, the lowest sentence this Court has imposed on any

 7    of the telemarketers is 18 months (for Muir4), and the overwhelming

 8    majority of the telemarketers have received sentences of about 24

 9    months or more.     Defendant is about as culpable as Mosher, Grundy,

10    and Muir, and although he may have been involved for slightly less

11    time than Mosher (who received a 21-month sentence), that is a

12    distinction without a difference, particularly in light of

13    defendant’s education and ability to earn a living in other ways.

14          Defendant is expected to request that the Court sentence him to

15    12 months and one day (or even less time), like codefendants Tanya

16    Ivanova, Adrien Stephenson, and Mark Dash.         In contrast to Ivanova

17    and Dash (Bellini’s assistants, at different times) and Stephenson (a

18    crooked MoneyGram agent), defendant was on the phone directly lying

19    to victims.    Moreover, unlike defendant, Ivanova and Dash were more

20    like pawns in the scheme, had no authority over anyone, and Ivanova

21    did not realize at first that she was involved in a scam.            Defendant,

22    by contrast, was Bellini’s partner in other scams (the non-lottery

23    boiler rooms), and purposely joined this even more insidious lottery

24    scam to try to make fast money to pay his bills by Christmas.             There

25

26

27
            4The government contends that Muir’s sentence was an outlier,
28    even among the below-guidelines sentences described here, and it
      should carry little or no weight.
                                      16
     Case 2:07-cr-01402-SJO Document 879 Filed 01/08/18 Page 21 of 21 Page ID #:8089



 1    is no comparison between defendant and the codefendants described in

 2    this paragraph.

 3          Finally, an 18-month sentence for defendant is about half the

 4    sentence this Court imposed on telemarketer George Chryssanthopoulos

 5    (36 months), and is about a quarter of the sentence this Court

 6    imposed on highly culpable telemarketer Jeffrey Jacobson and

 7    ringleader Bellini (who received 68 and 87-month sentences,

 8    respectively, for their wire fraud convictions).5          These differences

 9    are appropriate given these defendants’ higher levels of culpability

10    and longer involvement in the scheme.         Taking in all the sentences

11    imposed so far in this case, an 18-month sentence for MAGI avoids

12    unwarranted sentencing disparity.

13    V.    CONCLUSION
14          For the foregoing reasons, the government asks this court to

15    sentence defendant to a term of incarceration of 18 months, to impose

16    3 years supervised release, a $100 special assessment, and an order

17    of $286,230.00 in restitution.6

18

19

20

21

22
           5  As the Court is aware, Bellini’s 87-month sentence was a
23    reduced sentence due to his substantial downward departure for
      cooperation. Similarly, Alexander Andriopoulous, the very first
24    defendant who surrendered even before extradition proceedings,
      received a similarly substantial departure for his assistance in the
25    case (which was linked to the extradition of all the other
      defendants) and received probation. For these defendants, any
26    sentencing disparity is warranted, not unwarranted, because defendant
      MAGI did not cooperate. 18 U.S.C. § 3553(a)(6).
27
           6 The government may have left one victim off the restitution
28    list by mistake, and will clarify this issue in its reponse to the
      PSR prior to sentencing.
                                      17
